Case 1:18-cv-00427-JJM-LDA

 

IT IS HEREBY ATTESTED THAT:

The attached Form 8-K was receive
name of American Home Mortgage
pursuant to the relevant Act(s) of th

This certified document was produced fre

2/7/2019
Date

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ent 41-14 Filed 07/15/19 Page 1 of 5 PagelD #: 996

UNITED STATES OF AMERICA
SEC

‘URITIES AND EXCHANGE COMMISSION

ATTESTATION

d in this Commission on 7/28/2006, under the
Assets Trust 2006-3, File No. 333-131641-03,
e Commission.

m the files of this Commission on

It is hereby certified that the Secretary of the U.S. Securities and

Exchange Co

created by the
al custodian of the records and files of said
and was such official custodian at the time of executing

seq.) is offici
Commission

mmission, Washington, DC, which Commission was

Securities Exchange Act of 1934 (15 U.S.C. 78a et

the above attestation.

SEC 334 (9-12)

For the Commission

\

Secretary

   

 

 
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8-K 1 d541363.htm AMERICAN HOME MORTGAGE ASSETS TRUST 2006-3

UNITED STATES

SECURITIES) AND EXCHANGE COMMISSION

Washington, D.C. 20549

FORM8-K
CURRENT REPORT

Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934

Date of Report (Date of earliest event reported) July 28, 2006

AMERICAN HOME MORTGAGE ASSETS LLC
(Exact name of registrant as specified in its charter)

Delaware
(State or Other Jurisdiction
of Incorporation)

 

538 Broadhollow Road
Melville, New York
(Address of Principal
Executive Offices)

 

Registrant’s telephone number, including area code, is (516) 622-8960

 

 

333-131641-03 XX-XXXXXXX
(Commission (LR.S. Employer
File Number) Identification No.)
11747
(Zip Code)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the following

provisions (see General Instruction A.2. below):
[ ] Written commmnications pursuant to Rule 425 under the Securities

[ ] Soliciting material pursuant to Rule 14a-12 under the Exchange Act

[ ] Pre-commencement communications pursuant to Rule 14d-2(b) und

[ ] Pre-commencement communications pursuant to Rule 13e-4(c) und

Act (17 CER 230.425)

(17 CFR 240.14a-12)

ler the Exchange Act (17 CFR 240.14d-2(b))

er the Exchange Act (17 CFR 240.13e-4(c))

 

 
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Item 9.01(c).
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)
(©)

Financial Statements, Pro Forma Financial Information and Exhibits.

Not applicable
Not applicable

Exhibits:

Exhibit No.

 

Description

 

5.1

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Opinion of Thacher Proffitt & Wood LLP dated July 28, 2006, relating to American Home Mortgage
Assets| Trust, Mortgage-Backed Pass-Through Certificates, Series 2006-3

Opinion of Thacher Proffitt & Wood LLP (contained in Exhibit 5.1)

Opinion of Thacher Proffitt & Wood LLP (contained in Exhibit 5.1)

 

 

 
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SIGNATURES

Pursuant to the requirements of the Securities Exchange Act of 1934, the Registrant has duly caused this report to be signed on behalf of the Registrant by
the undersigned thereunto duly authorized.

AMERICAN HOME MORTGAGE ASSETS LLC

 

By: /s/ Alan B. Hom
Name: Alan B, Hom
Title: Executive Vice President

Dated: July 28, 2006

 

 

 

 
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EXHIBIT 5.1

 

 

 

July 28. 2006 a ee
